Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 1 of 7




             EXHIBIT 17
Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 2 of 7




                EXHIBIT 14
                  Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 3 of 7




From:                  Curtis, Annaleigh
Sent:                  Wednesday, January 3, 2024 2:36 PM
To:                    Kasaraneni, Karthik; lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby,
                       Thomas; Fisher, Stanley; Kayali, Kathryn; Liu, Michael; Ghosh, Shayon; Tavares, Julie; Anderson,
                       Derrick; Bernal Anderson, Haylee; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com;
                       Gregory.Boucher@saul.com; brucewexler@paulhastings.com; ericdittmann@paulhastings.com; Park,
                       Young J.; Kung, Simon; Minniti, Carl; Meuth, Ryan; COVIDPatentPfizer; 'BioNTech-Moderna-
                       PH@paulhastings.com'; 'APodoll@wc.com'
Cc:                    WH_Moderna_Lit
Subject:               RE: Moderna v. Pfizer and BioNTech, 22-cv-11378--Correspondence to BioNTech
Attachments:           2024-01-03 Correspondence.pdf


Counsel:

Please see the a ached correspondence.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Friday, December 22, 2023 8:00 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

EXTERNAL SENDER


Dear Annaleigh,

If you would like to reach out a er the holidays to discuss this issue, we will look for a me to do so.

In the mean me, your email below pivots from the problem: the documents BioNTech clawed back at
deposi ons were not among the five that you iden fied in October. Instead, the par cular, diﬀerent documents that BioNTech
clawed back were labeled “Privileged and Confiden al.” If you were asking in October about five specific documents with the
inten on of later using the answer about those five documents for other documents you knew about but did not disclose in that
October communica on, that would be a misleading omission of material fact. We will, therefore, assume that when you asked
about the five documents in October and received an answer that was expressly specific and limited to those documents, you
genuinely understood it to apply to only those five documents and not others. Accordingly, your October communica on had
nothing to do with Moderna’s later use at deposi on of diﬀerent documents labeled “Privileged and Confiden al.” If the “Privileged
and Confiden al” label did not give Moderna pause before using them at             deposi on without asking us first, as the
                                                                   1
                 Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 4 of 7
Protec ve Order required, the claw‐back of those exhibits at           deposi on should have stopped the same a orney from
using them at          without first asking. That violated the Protec ve Order.

Prepara on of a Rule 30(b)(6) witness with a published patent applica on, not an internal document marked “Privileged and
Confiden al,” is unrelated, and not a waiver of privilege for the documents at issue. We do not see a reason to con nue discussing
this.

Finally, your strawman argument that BioNTech has created a “standard” that it has itself allegedly violated cites unrelated, non‐
analogous events and falls flat. Neither of the instances you cite involves using an inadvertently produced document that was
labeled “Privileged” on its face, let alone the same a orney doing so twice. First, Mr. Peachman was en tled to a follow‐up ques on
to probe Dr. Schrum’s credibility about whether his document included the word “N1‐methyl‐pseudouridine” a er he tes fied
aﬃrma vely that it did not (Schrum Rough Tr. at 74:3‐17), and none of Mr. Peachman’s ques ons sought informa on about
communica ons, let alone privileged ones. Second, that a diﬀerent a orney, Dr. Mays‐Williams, in a diﬀerent deposi on, presented
an exhibit (that was not marked “Privileged”) from a previously prepared deposi on examina on set and inadvertently did not
realize that it was connected to a claw‐back request made just three business days prior is irrelevant to this discussion. When
Moderna’s counsel iden fied the connec on, examina on stopped and the document was destroyed. (December 22 R. Meuth
Email to G. Salvatore.) Counsel discussed that oﬀ the record at the deposi on itself, and there was no follow up because none was
warranted—un l your email. Consistent with that exchange, yesterday, other Moderna counsel acknowledged that this was indeed
inadvertent. (December 21 G. Salvatore Email to Counsel.)

There has been no cherry‐picking by BioNTech of “good” documents for disclosure versus “bad” ones to be withheld. Moderna
raised the documents and we are responding. You are a emp ng to fabricate a narra ve that does not exist. Or perhaps you are
confusing BioNTech’s good‐faith privilege claims with Moderna’s privilege strategy. In any case, if we do meet and confer about this
issue a er the holidays, we will look to con nue discussing your intent with the October communica on and the serial use of
documents marked “Privileged and Confiden al” at deposi ons.

Li ga on aside, we wish you all a good and res ul holiday break.

Best wishes,
Karthik


From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Friday, December 22, 2023 1:19 PM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.
<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Minniti, Carl
<carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

Karthik:

We are reviewing your le er and will reach out a er the holidays on this issue.

In the mean me, your sugges on that we violated the Protec ve Order by marking in              deposi on a document
BioNTech ul mately clawed back is not well taken. Given BioNTech’s inconsistent treatment of its own informa on,
                                                                                                          , Moderna
did not have reason to believe that BioNTech maintained a claim of privilege over the document marked with
     . Indeed, BioNTech had already at that point in           deposi on unques onably waived privilege over
                                                                   2
                Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 5 of 7

                                                            . See        Tr. 182:20‐184:8. The central conceit of privilege
waiver is that BioNTech cannot use privilege to shield from discovery documents and facts while at the same me
relying on related or similar documents and facts in this case. It is BioNTech’s obliga on in the first instance to protect
its privilege, not ours. We will make and have made more than reasonable eﬀorts to comply with our obliga ons under
the PO and professional rules in this regard, but cannot be expected to account for BioNTech’s selec ve waiver. We
further note that when BioNTech clawed the document back during the deposi on, Moderna complied and did not
examine the witness further on the document (and in fact instructed the witness and remote tech to destroy the
document, see          Tr. 222:12‐19).

By contrast, by the standard you propose, counsel for BioNTech has violated or at minimum a empted to violate that
provision of the PO twice in the past week. First, in Dr. Schrum’s deposi on, Mr. Peachman a empted to ques on Dr.
Schrum on what/whether content had been redacted from documents. See Schrum Rough Tr. 75:3‐17, 350:21‐352:14
(“Q. And the text that's redacted here, does any of this text refer to Kariko and Weissman's patent applica on? … Q
Does any of this text refer to N1‐methyl‐pseudouridine?”). Second, in Dr. de Fougerolles’ deposi on, Ms. Mays‐Williams
marked as an exhibit a document Moderna had clawed back several days before the deposi on. See de Fougerolles
Rough Tr. 150:5‐8.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Friday, December 22, 2023 9:01 AM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

EXTERNAL SENDER


Counsel,

Please see the a ached le er. As noted therein, we are available to meet and confer today, other than 2:30‐4 pm EST.

Thank you,
Karthik

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Thursday, December 21, 2023 12:47 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.

                                                             3
               Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 6 of 7

<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; rebeccahilgar@paulhastings.com;
Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

Annaleigh,

We intend to respond to your December 12 le er tonight or tomorrow.

Thank you,
Karthik

From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Tuesday, December 19, 2023 8:18 PM
To: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson,
Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young
J. <youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; rebeccahilgar@paulhastings.com;
Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

Counsel:

Please provide your availability this week to meet and confer on our December 12 le er.

Best,
Annaleigh

From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Tuesday, December 12, 2023 5:53 PM
To: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson,
Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
brucewexler@paulhastings.com; ericdittmann@paulhastings.com; youngpark@paulhastings.com;
simonkung@paulhastings.com; rebeccahilgar@paulhastings.com; carlminniti@paulhastings.com;
ryanmeuth@paulhastings.com; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence to BioNTech

Counsel:

Please see the a ached correspondence.

Best,
                                                          4
                    Case 1:22-cv-11378-RGS Document 227-17 Filed 02/21/24 Page 7 of 7

Annaleigh

Annaleigh E. Curtis | WilmerHale
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